                       Case 2:22-cv-00509-SRB Document 208 Filed 01/04/23 Page 1 of 5


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                       Facsimile: (602) 333-5431
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                       Attorneys for Plaintiff
              16
              17                                   UNITED STATES DISTRICT COURT
                                                       DISTRICT OF ARIZONA
              18
              19        Mi Familia Vota, et al.,                       Case No: 2:22-cv-00509-SRB (Lead)
              20                          Plaintiffs,
                               v.                                      Case No: 2:22-cv-01381-SRB (Consol.)
              21
                        Katie Hobbs, in her official capacity as       NOTICE OF SERVICE OF
              22        Arizona Secretary of State, et al.,            PLAINTIFF’S FIRST SET OF
              23                          Defendants.                  INTERROGATORIES

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                                                                                          CASE NO. CV-22-01381-PHX-SRB
ATTORNEYS AT LAW
 SAN FRANCISCO                                                     1                             NOTICE OF SERVICE OF
                                                                                        FIRST SET OF INTERROGATORIES
      IN
                       Case 2:22-cv-00509-SRB Document 208 Filed 01/04/23 Page 2 of 5


                   1   Living United for Change in Arizona, et al.,
                   2
                                         Plaintiffs,
                   3          v.
                   4   Katie Hobbs, in her official capacity as
                   5   Arizona Secretary of State, et al.,

                   6                     Defendants,
                   7                     and

                   8   State of Arizona, et al.,
                   9                    Inventor-Defendants.
              10       Poder Latinx, et al.,

              11                          Plaintiffs,
                              v.
              12
                       Katie Hobbs, et al.,
              13
              14                         Defendants.
                       United States of America,
              15
              16                          Plaintiff,
                             v.
              17
                       State of Arizona, et al.,
              18
                       Defendants.
              19       Democratic National Convention, et al.
              20
                                         Plaintiffs,
              21              v.
              22
                       Katie Hobbs, in her official capacity as
              23       Arizona Secretary of State, et al.,
              24                         Defendants,
              25                         and

              26       Republican National Committee,
              27
                                          Inventor-Defendants.
              28
                                                                                CASE NO. CV-22-01381-PHX-SRB
ATTORNEYS AT LAW
 SAN FRANCISCO                                                    2                    NOTICE OF SERVICE OF
                                                                              FIRST SET OF INTERROGATORIES
                       Case 2:22-cv-00509-SRB Document 208 Filed 01/04/23 Page 3 of 5


                   1   Arizona Asian American Native Hawaiian
                   2   and Pacific Islander for Equity Coalition,

                   3                    Plaintiff,
                             v.
                   4   Katie Hobbs, in her official capacity as
                   5   Arizona Secretary of State, et al.,

                   6                    Defendants.
                       Promise Arizona, et al.,
                   7
                                        Plaintiffs,
                   8         v.

                   9   Katie Hobbs, in her official capacity as
                       Arizona Secretary of State, et al.,
              10
                                        Defendants.
              11
              12           Pursuant to LRCiv 5.2, Plaintiff Arizona Asian American Native Hawaiian And
              13 Pacific Islander For Equity Coalition provides notice that it has served Plaintiff’s First Set
              14 of Interrogatories to County Recorder Defendants, Apache County Recorder Larry Noble;
              15 Cochise County Recorder David W. Stevens; Coconino County Recorder Patty Hansen;
              16 Gila County Recorder Sadie Jo Bingham; Graham County Recorder Wendy John; Greenlee
              17 County Recorder Sharie Milheiro; La Paz County Recorder Richard Garcia; Maricopa
              18 County Recorder Stephen Richer; Mohave County Recorder Kristi Blair; Navajo County
              19 Recorder Michael Sample; Pima County Recorder Gabriella Cázares-Kelly; Pinal County
              20 Recorder Dana Lewis; Santa Cruz County Recorder Suzanne Sainz; Yavapai County
              21 Recorder Michelle M. Burchill; and Yuma County Recorder Richard Colwell, in their
              22 official capacities, upon counsel, respectively, via electronic mail on December 27, 2022.
              23 Dated: January 4, 2023                               Respectfully submitted,
              24                                                      By    /s/ Amit Makker
              25                                                           LATHAM & WATKINS LLP
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              26                                                           Amit Makker (pro hac vice)
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                                                                                          CASE NO. CV-22-01381-PHX-SRB
ATTORNEYS AT LAW
 SAN FRANCISCO                                                    3                              NOTICE OF SERVICE OF
                                                                                        FIRST SET OF INTERROGATORIES
                       Case 2:22-cv-00509-SRB Document 208 Filed 01/04/23 Page 4 of 5


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              11                                                   Attorneys for Plaintiff
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                                                                                   CASE NO. CV-22-01381-PHX-SRB
ATTORNEYS AT LAW
 SAN FRANCISCO                                           4                                NOTICE OF SERVICE OF
                                                                                 FIRST SET OF INTERROGATORIES
                       Case 2:22-cv-00509-SRB Document 208 Filed 01/04/23 Page 5 of 5


                   1                               CERTIFICATE OF SERVICE
                   2         I hereby certify that on this 4th day of January, 2023, I caused the foregoing
                   3 document to be filed electronically with the Clerk of Court through the CM/ECF System
                   4 for filing; and served on counsel of record via the Court’s CM/ECF system.
                   5
                                                                       /s/ Amit Makker
                   6                                                   Amit Makker
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                                                                                             CASE NO. CV-22-01381-PHX-SRB
ATTORNEYS AT LAW
 SAN FRANCISCO                                                   5                                  NOTICE OF SERVICE OF
                                                                                           FIRST SET OF INTERROGATORIES
